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                                UNITED STATES DISTRICT COURT
                            FOR THE NORTHERN DISTRICT OF ILLINOIS
                                      EASTERN DIVISION


   PERLA MAGENO,                                      )    Case No. 1:18-cv-00166
                                                      )
                      Plaintiff,                      )    Honorable Sharon Johnson Coleman
    vs.                                               )
                                                      )    Magistrate Judge Michael T. Mason
   ALDI INC., d/b/a ALDI FOODS INC.,                  )
                                                      )    MOTION TO RESCHEDULE
                   Defendant.                         )    INITIAL STATUS CONFERENCE
                                                      )

       Plaintiff and Defendant (“the parties”), through their respective counsel, jointly move this
Court to reschedule the Initial Status Conference currently set for Monday, March 12, 2018 at 10
AM CST. The parties have had significant and substantive discussions regarding settlement and
believe that settlement in principal has been reached.

         In lieu of filing the mandated joint status report and Rule 26 disclosures, the parties jointly
request that the Court reschedule the present status conference date of March 12, 2018, for 30 days
to allow the parties to finalize settlement. In the interim, should settlement be finalized as
anticipated, the parties will promptly notify the Court and as for dismissal of the action pursuant
to settlement.

 Respectfully submitted,
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